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 7
 8                    UNITED STATES DISTRICT COURT
 9                                  DISTRICT OF ARIZONA
10    Fernando Segoviano Almanza,             CV 15–02064–PHX–DLR (JFM)
11                    Petitioner,
12            -vs-                            NOTICE OF
                                              SUPPLEMENTATION OF
13    Charles L. Ryan, et al.,                THE STATE-COURT
14                    Respondents.            RECORD

15
16          Respondents hereby supplement the relevant state-court record that was
17 submitted with its limited answer. Various transcripts from Almanza’s trial have
18 been cited in these proceedings, but it does not appear that they have been
19 presented to this Court. As a result, Respondents respectfully supplement the state-
20 court record that is before this Court by attaching to this notice, as exhibits, the
21 transcripts from Almanza’s trial. Respondents will file any additional transcripts
22 from the state-court record, if this Court deems it necessary. (See Dkt. 48, at 5.)
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1        DATED this 16th day of May, 2019.
2                                     Respectfully submitted,

3                                     Mark Brnovich
                                      ATTORNEY GENERAL
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5                                     Lacey Stover Gard
                                      Chief Counsel
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                                      s/ Andrew S. Reilly
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1                            CERTIFICATE OF SERVICE
2 I hereby certify that on May 16, 2019, I electronically transmitted the attached
  document to the Clerk’s Office using the ECF System for filing and transmittal of
3 a Notice of Electronic Filing to the following ECF registrant:
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